Case 1:18-cv-00315-GLS-ATB Document 3 Filed 03/16/18 Page 1 of 3

IN THE UNITED STATES DlSTRICT COURT
FOR THE NORTHERN DlSTRICT OF NEW YORK

 

UNITED S'I'ATES OF AMERICA,
Plaintiff, Civil Action No.
1:18-CV- 315 (GLSIATB)
v.
SCOTT VALENTE, Criminal Action No.

l : 15-CR~124
Defendant,

and
ALLSCRlPTS HEALTHCARE SOLUTlONS, INC.,

Garnishee.

 

WRIT OF CONTINUING GARNISHMENT

TO: ALLSCRIPTS HEALTHCARE SOLUTIONS, INC.

ATTN: LEGAL DEPARTMENT

222 MERCHANDISE MART PLAZA, SUITE 2024

CHICAGO, lL 60654

An Application for a Writ of Continuing Gamishment against property of the above~named
Defendant, Scott Valente, has been filed with this Coun by the United States of America.

An Amended Judgment was entered in favor of the United States of America against the
Defendant on July 20, 2016, requiring the debtor to pay restitution in the amount of $8,616,1 13.39. To
date, a balance of $7,747,405.13 remains outstanding.

You, the Gamishee, are required by law to immediately withhold and retain any property
in your custody, control or possession, specifically, but not limited to: SRA l Fund Series EE- l (SA)
and Series EE-6(SA) (previously held under Practice Fusion, lnc.) in the name of 'I`he ELIV Group

LLC, in which the defendant has a substantial non-exempt interest as owner and manager of the ELIV

Group LLC, including, but not limited to, any new property of which you obtain custody, control

Case 1:18-cv-OO315-GLS-ATB Document 3 Filed 03/16/18 Page 2 of 3

or possession of while this Writ is in effect. 28 U.S.C. § § 3002(|2), 30|4, 3205 (c)(2)(F). lt is
unlawful for you to pay or deliver to the defendant any item attached by this Writ. You are to take
this action pending further Order of this Court.

¥ou, the Gamishee, are required by law to Answer this Writ of Gamishment, in writing,
under oath, within ten (l 0) days of your receipt of this Writ. ln the Answer of the Gamishee, you
must include whether you have in your custody, control, or possession, property in which this
judgment debtor has a substantial non-exempt, providing a description of such property and an
indication of thejudgment debtor’s interest in it.

You, the Gamishee, are required by law, to mail or hand-deliver the original, signed and
notarized Answer to this Writ within ten (lO) days of your receipt of this Writ, to the Clerk of the
United States District Court, James M. Hanley Federal Building, 100 S. Clinton Street, PO Box 7367,
Syracuse, NY 13261 to be filed. You must Answer the Writ even if you do not have in your custody,
control or possession, any property of the debtor. 28 U.S.C. § 3205(c)(4).

Additionally, you are required by law to mail or deliver a copy of your Answer upon the debtor
who is currently incarcerated at: FCI Fort Dix, Reg. No. 21860-052, PO Box 2000, Joint Base MDL,
NJ 08640, and the United States Attomey's Oflice, Attn: Leslie B. Ducar, Paralegal Specialist, J ames
'I`. Foley Courthouse, 445 Broadway, Albany, NY 12207.

Under the law, there is property that is exempt from this Writ of Garnishment. Property
which is exempt and which is not subject to this Order is listed on the attached Exemption list.

If you fail to answer this Writ of Gamishment, or if you fail to withhold property in accordance
with this Writ, the United States of America may petition the Court for an Order requiring you to
appear before the Court and show good cause why you failed to comply with this Writ. l~`ailure to
appear before the Court or failure to show good cause for your non~compliance with this Writ, may

result in the Court entering a Judgment against you. T hat Judgment would be in the amount of the

Case 1:18-cv-OO315-GLS-ATB Document 3 Filed 03/16/18 Page 3 of 3

judgment debtor’s non~exernpt interest in the property in your custody, control or possession that is

subject to this garnishment, up to the outstanding debt balance, plus attomeys’ fees.

  

Dated: March 16 ,2018

  

Co_t
Clerl-; of Court

 

leathy Rogers

 

I)eputy Clerk

